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    7                       UNITED STATES DISTRICT COURT
    8                     CENTRAL DISTRICT OF CALIFORNIA
    9                               SOUTHERN DIVISION
   10
   11 ALLCAPCORP, LTD. CO. D/B/A                  Case No. 8:19-cv-00206-JVS-JDE
      ALLEGIANCE CAPITAL
   12
      CORPORATION,
   13
              Plaintiff,                          JUDGMENT IN FAVOR OF
   14
                                                  DEFENDANT CHC CONSULTING
   15         vs.                                 LLC ON SECOND AMENDED
                                                  COMPLAINT
   16
      CHC CONSULTING LLC,
   17 CONGRUEX LLC, and D.A.
      DAVIDSON & CO.,
   18
   19               Defendants.
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   21
              On April 8, 2020, the Court granted the Motion for Summary Judgment filed
   22
        by Defendant CHC CONSULTING LLC (“CHC”) on the operative Second
   23
        Amended Complaint filed by Plaintiff ALLCAPCORP, LTD. CO. D/B/A
   24
        ALLEGIANCE CAPITAL CORPORATION. Dkt. 152.
   25
              On April 22, 2020, CHC filed a Motion for Attorneys’ Fees and a Bill of
   26
        Costs. Dkt. 153 and 154. After considering the moving, opposing and reply papers,
   27
        and the supporting evidence, the Court issued its Tentative Ruling on CHC’s Motion
   28

                                             JUDGMENT
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    1 for Attorneys’ Fees and a Bill of Costs on June 13, 2020. The Tentative Ruling
    2 became the Order of the Court on June 18, 2020. Dkt. 166. By its Order, the Court
    3 granted CHC’s Motion for Attorneys’ Fees and awarded CHC $771,996.15 in
    4 attorneys’ fees. The Court further awarded CHC $5,110.08 in costs. Id. at p. 11.
    5         THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND
    6 DECREED THAT:
    7         Plaintiff ALLCAPCORP, LTD. CO. D/B/A ALLEGIANCE CAPITAL
    8 CORPORATION shall take nothing by way of its Second Amended Complaint; and
    9 Judgment is hereby entered in favor of Defendant CHC CONSULTING LLC and
   10 against Plaintiff ALLCAPCORP, LTD. CO. D/B/A ALLEGIANCE CAPITAL
   11 CORPORATION in the amount of $777,106.23.
   12
   13
   14 DATED: June 30, 2020
   15                                        JAMES V. SELNA
   16                                        United States District Judge

   17 Presented by:
   18 /s/ William C. Bollard
        William C. Bollard
   19    william@jbblaw.com
        Catherine A. Close
   20    cac@jbblaw.com
   21   JULANDER, BROWN & BOLLARD
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   22   Irvine, California 92618
        Telephone: (949) 477-2100
   23   Facsimile: (949) 477-6355
        Attorneys for Defendant CHC CONSULTING
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                                             JUDGMENT
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    1                            CERTIFICATE OF SERVICE
    2        I hereby certify that on this 22nd of June 2020, I electronically filed the
    3 foregoing paper(s) with the Clerk of the Court using the ECF system which will
    4 send notification to all parties of record or persons requiring notice.
    5
    6                                           /s/ William C. Bollard
                                                William C. Bollard
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                                              JUDGMENT
